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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

BERKELEY VENTURES II, LLC,

Plaintiff,

v.
                                                Case No.: 1:19-CV-05523-SDG
SIONIC MOBILE CORPORATION
and RONALD D. HERMAN

Defendants.


    RESPONSE IN OPPOSITION TO DEFENANT SIONIC MOBILE
  CORPORATION’S MOTION TO STRIKE PLAINTIFF’S REPLY BRIEF
    IN SUPPORT OF ITS MOTION TO ADD MR. PATRICK GAHAN

      COMES NOW Berkeley Ventures II, LLC, Plaintiff in the above captioned

matter, by and through its undersigned counsel and hereby file this its Response in

Opposition to Defendant Sionic Mobile Corporation’s Motion to Strike Plaintiff’s

Reply Brief showing the Court that Defendant continues to make much ado about

nothing and evidently has little regard for wasting judicial resources and would

rather file needless motions than discover the facts in the underlying dispute.

                                 BACKGROUND

      Much of this molehill, made into a mountain by Defendant, is chronicled on

the Court’s Docket. On or about June 18, 2021, Plaintiff moved to add Mr. Patrick
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Gahan as a party to Defendant to this matter (DE # 136). In that Motion and Brief

in Support thereof, Plaintiff asserted that Mr. Gahan should be liable for securities

fraud in this matter as he was a member of the Sionic Mobile Corporation at the

time he solicited Plaintiff’s investment, knew that certain claims and promises of

Sionic Mobile were false and enticed Plaintiff to invest while stating false

statements or omitting true statements in connection thereto.

      On or about July 2, 2021, Defendant Sionic Mobile Corporation filed a

Response in Opposition (DE #145) to add Mr. Patrick Gahan stating that he was

not liable for securities fraud in this matter and should not be added as a party

Defendant as (1) Plaintiff had failed to state anything that they did not know

previously and (2) that Mr. Gahan must be added to afford relief to Plaintiff. In

response, Plaintiff prepared and developed a succinct Reply Brief in response to

the matters raised in Defendant’s Response (DE #145). However, in order to fully

illuminate the Court as to the new evidence and reason for Mr. Gahan’s liability,

Plaintiff felt compelled to include emails (“Confidential Materials”) which have

been classified as “Confidential” under the Shared Protective Order (DE #107)

entered in this case.

      In an email to opposing counsel, Plaintiff sent an initial batch of




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Confidential Materials which would serve as Exhibits to Plaintiff’s Reply Brief.1

In an attempt to safeguard such Confidential Material, Plaintiff filed its necessary

Reply Brief with this Court on or about July 16, 2021 (DE # 145) omitting the

confidential exhibits and filing a motion to file under seal to cover the confidential

materials (DE #146). Plaintiff was never allowed to file these Confidential

Materials with the Court as the Court instructed Plaintiff to refile its Reply Brief

and denied Plaintiff’s misplaced Motion to Seal (DE #146).

          Thereafter, Plaintiff noticed that Exhibit V had been left out of the initial

batch of emails sent to Defendant’s counsel. Plaintiff feels that Exhibit V is crucial

to Mr. Gahan’s liability because its addresses the two (2) major objections

Defendant has to adding Mr. Gahan (no new evidence and no reason for liability as

to Plaintiff’s claims). Prior to re-filing its Reply Brief, Plaintiff notified Defendant

Sionic Mobile Corporation’s counsel that Exhibit V would be filed with the Reply

Brief via email, provided a copy attached thereto and discussed via telephone

conference.2 It was AFTER the July 30, 2021, email was sent and AFTER the

teleconference between counsel that Plaintiff filed its Reply Brief provisionally

sealed which did include Exhibit V (DE #156). The Exhibit V was NEVER filed

with the Court until after it had been shared with opposing counsel and even more

1
    See Emails dated July 16, 2021, attached hereto as Exhibit A.
2
    See Emails dated July 23, 2021 and July 30, 2021, attached hereto as Exhibit B.

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interesting, had been in the possession of Defendants for at least 1 month prior to

the filing of any Reply Brief in this matter as part of the Enduring Hearts

production.

      As one can see from the chronology of events, several facts are clear:

         • Sionic Mobile Corporation’s counsel had Exhibit V at least 1 month

              prior to any filing made in support of an attempt to add Mr. Patrick

              Gahan as a party Defendant;

         • Plaintiff’s counsel discussed Exhibit V with Defendant Sionic Mobile

              Corporation’s counsel prior to ever filing it with the Court; and

         • Plaintiff’s counsel sent an email with Exhibit V to counsel for

              Defendant Sionic Mobile Corporation prior to ever filing it with the

              Court

                                      CONCLUSION

      Plaintiff has shown good cause under Rule 16(b) to authorize the filing

Motion to Add Mr. Patrick Gahan as a Third Party Defendant through its numerous

filings in the Court record and the Exhibits attached thereto (DE #136, DE #156

and DE #157). In viewing Exhibit V, it is clear that Defendant Sionic Mobile

Corporation is wiling to do anything to keep this important email from the Court.

This Exhibit V shows not only that Mr. Gahan, but also Defendant Herman were

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engaged in a scheme to defraud Plaintiff while at the same time, both of them were

enticing Plaintiff to invest. Rather than expending so much energy to on motion

practice and wasting paper, both parties would be served to work together to

discover the facts in this dispute. Defendant opened the door in its Response in

Opposition (DE # 43). Plaintiff addressed Defendant’s assertions that Mr. Gahan

is not necessary to be added as a party. Plaintiff’s counsel never intended to hide

the ball on Defendant Sionic Mobile Corporation’s counsel, rather steps were taken

to not only to protect the “Confidential Materials” but also to share

EVERYTHING that would be shared with the Court, PRIOR to it being filed.

      The Second Motion to Strike (DE # 162) is a colossal waste of the Court’s

time. Rather than engaging in time wasting efforts such as that put forth by

Defendant’s counsel, Plaintiff reincorporates the arguments found in its Response

in Opposition to Defendant’s Motion to Strike (DE # 160). As shown previously,

the Defendants’ argument that they are prejudiced due to ‘new material” in the

Reply Brief is wholly without merit. The Case law is very clear that items cannot

be considered “new material” if the Defendants are in possession of such materials

at the time and/or Defendants opened the door. Defendants must answer in the

affirmative to both criteria. Defendants received the documentation attached to the

Reply Brief in discovery and via email.

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      Even assuming any of Defendants hold merit (which is doubtful at best), the

relief Defendants seek (striking the Reply) is incredibly overreaching and

improper. From Defendants perspective, this damning evidence included with the

Reply Brief is of such importance that they have no choice but to try and get it

struck.     The fact remains, Mr. Gahan was actively engaged in committing

securities fraud along with Defendant Herman. He must be added as a party in this

matter and Plaintiff’s Reply Brief must stand and be considered by this Court.




      This the 23rd day of August, 2021.

                                             GODWIN LAW GROUP


                                             /s/ Jason B. Godwin
                                             Jason B. Godwin
                                             Georgia Bar No. 142226

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             CERTIFICATE OF COMPLIANCE AND SERVICE

      I certify that the foregoing has been prepared in accordance with Local Rule

5.1(C), using Times New Roman, 14-point font. I further certify I have

electronically filed on the date stated below, the foregoing Response in Opposition

to Defendant Sionic Mobile Corporation’s Motion to Strike (DE #162) with the

Clerk of Court using the CM/ECF system which will automatically send email

notification of such filing to attorneys of record, as follows:

                                   Simon Jenner
                    210 Interstate North Parkway, SE Suite 100
                              Atlanta, Georgia 30339

      Further served, although not attorneys of record:

                                 David J. Hungering
                             Hungeling Rubenfield Law
                             1718 Peachtree Street, N.W.
                               Atlanta, Georgia 30309

                                  Daniel C. Norris
                              The Ether Law Firm, LLC
                             1718 Peachtree Street, N.W.
                               Atlanta, Georgia 30309

      This 23rd of August, 2021.
                                               /s/ Jason B. Godwin
                                               Jason B. Godwin
                                               Georgia Bar No. 142226




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